      Case 2:08-cr-00173-RHW       ECF No. 176   filed 03/18/09   PageID.496 Page 1 of 1



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 5
                              UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON
 7 UNITED STATES OF AMERICA,                      )
 8                                                )      No. CR-08-0173-RHW-10
                Plaintiff,                        )
 9                                                )      Order Granting Motion to
              vs.                                 )      Quash Warrant and Issue
10 DELAINA D. REID,                               )      Summons
                                                  )
11                                                )
                 Defendant.                       )
12
13            Upon Motion by Plaintiff, United States of America, to quash the warrant on
14 the Defendant and issue a summons,
15       IT IS ORDERED that the warrant be quashed and a summons be issued for
16 the Defendant.
17       DATED March 18, 2009.
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19                                S/ CYNTHIA IMBROGNO
                             UNITED STATES MAGISTRATE JUDGE
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     Order to Quash Warrant and Issue Summons - 1
     08cr173rhw10-3-18.wpd
